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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


YOUNG VIPER GEAR, LLC,
                                                     CASE NO.: 1:23-CV-14647
        PLAINTIFF,

V.
                                                     JUDGE JOHN ROBERT BLAKEY
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
                                                     MAGISTRATE JUDGE JEFFREY T. GILBERT
        DEFENDANTS.


                                       NOTICE OF DISMISSAL

            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

     Dismissal, without prejudice, as to the following Defendants identified on Schedule A of the

     Complaint:

                     NO.                        DEFENDANT
                     32.                     SAVIORE SPORTS
                     68.               DAY WOLF HEAT OFFICIAL STORE


          Dated:     March 22, 2024               Respectfully submitted,

                                                  /s/ Ann Marie Sullivan
                                                  Ann Marie Sullivan
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